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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES - GENERAL


Case No.: CV 20-11269 SB (ASx)                                  Date:   May 11, 2021


Title:    Eliza Sedaghatfar v. Zarifian, Inc. et al


Present: The Honorable       STANLEY BLUMENFELD, JR., U.S. District Judge
                  Victor Cruz                                     Not Present
                  Deputy Clerk                                   Court Reporter

    Attorney(s) Present for Plaintiff(s):             Attorney(s) Present for Defendant(s):
               Not Present                                        Not Present

Proceedings:       [In Chambers] FAILURE TO RESPOND TO OSC

         On 4/26/2021, the Court issued an Order to Show Cause re dismissal for
  Plaintiffs’ lack of prosecution. The Court advised Plaintiffs that it would consider
  Plaintiffs’ filing of the filing of a motion for entry of default judgment as an
  appropriate response to this Order to Show Cause, on or before 5/10/2021.
  Plaintiffs have failed to comply. Accordingly, the Court hereby DISMISSES this
  case for lack of prosecution, without prejudice.

           JS-6




  CV-90 (12/02)                    CIVIL MINUTES – GENERAL              Initials of Deputy Clerk VPC

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